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              EXHIBIT 4
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C O R O N AV I R U S




15 times Trump praised China as coronavirus was spreading across the globe

The president has lambasted the WHO for accepting Beijing’s assurances about the outbreak, but he repeated them, as well.




               President Donald Trump. | Pete Marovich/Getty Images




               By      M YA H   WARD

               04/15/2020        06:27   PM   EDT
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POLITICO has compiled a list of 15 times the president hailed China for its
push to prevent a pandemic in the early months of 2020 — an effort that
ultimately failed:

Jan. 22, Twitter:

“One of the many great things about our just signed giant Trade Deal with
China is that it will bring both the USA & China closer together in so many
other ways. Terrific working with President Xi, a man who truly loves his
country. Much more to come!”

Jan. 24, Twitter:

“China has been working very hard to contain the Coronavirus. The United
States greatly appreciates their efforts and transparency. It will all work out
well. In particular, on behalf of the American People, I want to thank President
Xi!”

Jan. 29, Remarks at signing ceremony for the United States-Mexico-Canada
Agreement:

“And, honestly, I think, as tough as this negotiation was, I think our
relationship with China now might be the best it's been in a long, long time.
And now it's reciprocal. Before, we were being ripped off badly. Now we have a
reciprocal relationship, maybe even better than reciprocal for us.”

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Jan. 30, Fox News interview:

"China is not in great shape right now, unfortunately. But they're working very
hard. We'll see what happens. But we're working very closely with China and
other countries."

Feb. 7, Remarks at North Carolina Opportunity Now Summit in Charlotte,
N.C.:

"I just spoke to President Xi last night, and, you know, we're working on the —
the problem, the virus. It's a — it's a very tough situation. But I think he's going
to handle it. I think he's handled it really well. We're helping wherever we can."

Feb. 7, Twitter:

“Just had a long and very good conversation by phone with President Xi of
China. He is strong, sharp and powerfully focused on leading the counterattack
on the Coronavirus. He feels they are doing very well, even building hospitals
in a matter of only days … Great discipline is taking place in China, as
President Xi strongly leads what will be a very successful operation. We are
working closely with China to help!

Feb. 7, Remarks before Marine One departure:

"Late last night, I had a very good talk with President Xi, and we talked about
— mostly about the coronavirus. They're working really hard, and I think they
are doing a very professional job. They're in touch with World — the World —
World Organization. CDC also. We're working together. But World Health is
working with them. CDC is working with them. I had a great conversation last
night with President Xi. It's a tough situation. I think they're doing a very good
job.”

Feb. 10, Fox Business interview:

"I think China is very, you know, professionally run in the sense that they have
everything under control," Trump said. "I really believe they are going to have
it under control fairly soon. You know in April, supposedly, it dies with the
hotter weather. And that's a beautiful date to look forward to. But China I can
tell you is working very hard."
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Feb. 10, campaign rally in Manchester, N.H.:

“I spoke with President Xi, and they’re working very, very hard. And I think it’s
all going to work out fine.”

Feb. 13, Fox News interview:

“I think they've handled it professionally and I think they're extremely capable
and I think President Xi is extremely capable and I hope that it's going to be
resolved."

Feb. 18, remarks before Air Force One departure:

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“I think President Xi is working very hard. As you know, I spoke with him
recently. He’s working really hard. It’s a tough problem. I think he’s going to do
— look, I’ve seen them build hospitals in a short period of time. I really believe
he wants to get that done, and he wants to get it done fast. Yes, I think he’s
doing it very professionally.”

Feb. 23, remarks before Marine One departure:

"I think President Xi is working very, very hard. I spoke to him. He's working
very hard. I think he's doing a very good job. It's a big problem. But President
Xi loves his country. He's working very hard to solve the problem, and he will
solve the problem. OK?"

Feb. 26, remarks at a business roundtable in New Delhi, India:
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          “China is working very, very hard. I have spoken to President Xi, and they’re
          working very hard. And if you know anything about him, I think he’ll be in
          pretty good shape. They’re — they’ve had a rough patch, and I think right now
          they have it — it looks like they’re getting it under control more and more.
          They’re getting it more and more under control.”

          Feb. 27, Coronavirus Task Force press conference:

          “I spoke with President Xi. We had a great talk. He’s working very hard, I have
          to say. He’s working very, very hard. And if you can count on the reports
          coming out of China, that spread has gone down quite a bit. The infection
          seems to have gone down over the last two days. As opposed to getting larger,
          it’s actually gotten smaller.”

          Feb. 29, Coronavirus Task Force press conference:

          “China seems to be making tremendous progress. Their numbers are way
          down. … I think our relationship with China is very good. We just did a big
          trade deal. We’re starting on another trade deal with China — a very big one.
          And we’ve been working very closely. They’ve been talking to our people, we’ve
          been talking to their people, having to do with the virus.”


C O R O N AV I R U S : W H AT Y O U N E E D T O K N O W




U.S. coronavirus death toll tops 200,000 as officials fear fall surge.
Confirmed U.S. Cases: 6,867,960 | U.S. Deaths: 200,182


   How coronavirus will change the world permanently


   Coronavirus cases, tracked state by state


   Are you a health care worker? Tell us what you're seeing




T O P D E V E LO P M E N T S



    Trump said the United Nations "must hold China accountable" for the pandemic.


    Trump downplays virus threat to young people saying "it affects virtually nobody."


    Trump contradicts health officials with a new vaccine claim.


    The CDC backtracks on its warning that the coronavirus is airborne.



                                                                                         Read all coronavirus coverage »
President Donald Trump yanked U.S. funding for the World Health
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Organization on Tuesday, complaining that the United Nations public health
agency was overly deferential to China and had put too much faith in Beijing’s
assertions that it had the coronavirus outbreak there was under control.

“Had the WHO done its job to get medical experts into China to objectively
assess the situation on the ground and to call out China’s lack of transparency,
the outbreak could have been contained at its source with very little death,” the
president said Tuesday. “Instead, the W.H.O. willingly took China’s assurances
to face value.”

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Trump, however, echoed many of those same assurances regarding China and
its response to the virus throughout January and February, as the unique
coronavirus began to infiltrate countries around the world. Just days before the
U.S. recorded its first death from Covid-19, Trump touted China’s government
for its transparency and hard work to defeat the coronavirus that causes the
illness.
